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   13                     UNITED STATES DISTRICT COURT
   14                   CENTRAL DISTRICT OF CALIFORNIA
   15

   16   SERENA FLEITES,                           Case No. 2:21-cv-4920-CJC
   17                         Plaintiff,
                   v.                             SPECIALLY APPEARING
   18                                             DEFENDANT DAVID
        MINDGEEK S.A.R.L. a foreign entity;       TASSILLO’S NOTICE OF
   19   MG FREESITES, LTD., a foreign entity;     MOTION AND MOTION TO
        MINDGEEK USA INCORPORATED, a              DISMISS THE AMENDED
   20   Delaware corporation; MG PREMIUM          COMPLAINT;
        LTD, a foreign entity; MG GLOBAL          MEMORANDUM OF POINTS
   21   ENTERTAINMENT INC., a Delaware            AND AUTHORITIES IN
        corporation; 9219-1568 QUEBEC, INC.       SUPPORT THEREOF
   22   (D/B/A) MINDGEEK, foreign entity;
        BERND BERGAMAIR, a foreign                Date: August 8, 2022
   23   individual; FERAS ANTOON, a foreign       Time: 1:30 p.m.
        individual; DAVID TASSILLO, a foreign     Courtroom: 9 B
   24   individual; COREY URMAN, a foreign        Judge: Hon. Cormac J. Carney
   25
        individual; VISA INC., a Delaware
        corporation; COLBECK CAPITAL DOES
   26
        1-5; and BERGMAIR DOES 1-5

   27
                              Defendants.

   28

             DAVID TASSILLO’S MOTION TO DISMISS THE AMENDED COMPLAINT
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    1                  NOTICE OF MOTION AND MOTION TO DISMISS
    2            PLEASE TAKE NOTICE that, on August 8, 2022 at 1:30 p.m., or as soon
    3   thereafter as the matter may be heard in Courtroom 9B in the U.S. District Court
    4   for the Central District of California, located at the Ronald Reagan Federal
    5   Building and United States Courthouse, 411 West Fourth Street, Santa Ana,
    6   California 92701-4516 before the Honorable Cormac J. Carney, Specially
    7   Appearing Defendant David Tassillo will move, and hereby moves, for an Order
    8   dismissing Plaintiff’s Amended Complaint pursuant to Federal Rules of Civil
    9   Procedure 12(b)(2), 12(b)(6) and 9(b).
   10            Mr. Tassillo neither consents nor submits to the jurisdiction of this Court
   11   and appears for the limited purpose of contesting jurisdiction.
   12            This Motion is made following the conference of counsel pursuant to L.R. 7-
   13   3, which took place on May 17, 2022.
   14            If the Court finds jurisdiction over Mr. Tassillo, he respectfully moves for
   15   dismissal on the ground that Plaintiff has failed to state a claim against him upon
   16   which relief can be granted. This motion is based on this Notice of Motion, the
   17   accompanying Memorandum of Law, and all other matters properly before this
   18   Court.
   19   DATED: May 23, 2022                Respectfully Submitted,
   20                                      WIECHERT, MUNK & GOLDSTEIN, PC
   21

   22
                                           By: /s/ David W. Wiechert
                                              David W. Wiechert (SBN 94607)
   23

   24
                                               MORVILLO ABRAMOWITZ GRAND
                                               IASON & ANELLO PC
   25                                          Jonathan S. Sack (admitted pro hac vice)
   26                                          Karen R. King (admitted pro hac vice)
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   27                                          Attorneys for Specially Appearing Defendant
   28                                          David Tassillo

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    1                                     INTRODUCTION
    2         Plaintiff’s Amended Complaint fails to cure the fundamental defects in the
    3   original complaint. The Amended Complaint, like the earlier complaint, relies on
    4   conclusory group pleading and lacks any allegations of specific wrongful acts by
    5   David Tassillo. The only allegation of a specific action taken by Mr. Tassillo
    6   (carried over from the original complaint) relates to testimony he gave to the
    7   Canadian House of Commons in 2021—nearly seven years after the events at issue
    8   in this case and totally irrelevant to Plaintiff’s claims.
    9         Mr. Tassillo identified these and related deficiencies in a fully briefed
   10   motion to dismiss the original complaint. Plaintiff’s sole response is a cosmetic
   11   one: Mr. Tassillo is added to a series of rote allegations that a group of defendants,
   12   including Mr. Tassillo, “implemented” and “executed” unlawful company policies
   13   “at the direction” of an individual representing the company’s majority
   14   shareholders. Yet these types of vague, undifferentiated allegations are inadequate
   15   because they fail to identify any specific wrongful action taken by Mr. Tassillo and
   16   rely exclusively on his alleged title and employment—in Canada—to include him
   17   as a defendant in this lawsuit.
   18         As with the original complaint, the Amended Complaint has zero allegations
   19   supporting personal jurisdiction over Mr. Tassillo. It does not allege a single fact
   20   about Mr. Tassillo’s activities in or directed at California or the United States.
   21   Likewise, the Amended Complaint has zero allegations about any activity of Mr.
   22   Tassillo regarding Plaintiff or the videos at issue. Plaintiff has not met her burden
   23   of pleading the grounds for jurisdiction over Mr. Tassillo, and has not satisfied
   24   basic notice pleading requirements.
   25         For these reasons, all claims against Mr. Tassillo should be dismissed for
   26   lack of personal jurisdiction or, in the alternative, for failure to plead claims upon
   27   which relief can be granted.
   28
                                                    1
               DAVID TASSILLO’S MOTION TO DISMISS THE AMENDED COMPLAINT
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   1                                     BACKGROUND 1
   2   Procedural History
   3         On June 17, 2021, 34 plaintiffs commenced this lawsuit, asserting 19 causes
   4   of action against seven MindGeek-related entities, Visa, Inc., and four individuals,
   5   including Mr. Tassillo. The claims run the gamut, consisting of (i) federal claims
   6   under the Trafficking Victims Protection Reauthorization Act (“TVPRA”), the
   7   RICO statute, and child pornography statutes; (ii) common law claims for public
   8   disclosure of private facts, intrusion into private affairs, placing plaintiff in false
   9   light, deception, unjust enrichment, negligence, misappropriation, and civil
  10   conspiracy; and (iii) California state statutory claims for misappropriation of name
  11   and likeness, deceptive business practices, and distribution of sexually explicit
  12   content without consent.
  13         On October 20, 2021, Mr. Tassillo and the other defendants filed companion
  14   motions to dismiss the complaint for lack of personal jurisdiction and for failure to
  15   state a claim upon which relief can be granted. (ECF Nos. 62, 67, 68, 69.) Mr.
  16   Tassillo, a foreign defendant, argued that the complaint was devoid of any
  17   allegation that he had the requisite minimum contacts with California or the United
  18   States, and that the claims asserted against him were legally insufficient. (See e.g.,
  19   ECF No. 67.)
  20         On November 1, 2021, the MindGeek Defendants moved to sever and
  21   dismiss the plaintiffs on the basis that they had been improperly joined under Fed.
  22   R. Civ. P. 20(a). (ECF No. 75.) Mr. Tassillo and the other individual defendants
  23   joined the motion to sever. (ECF Nos. 76, 81, 82, 86.)
  24

  25
       For purposes of a motion to dismiss, the well-pleaded factual allegations in the
       1
  26 Amended Complaint are assumed to be true. AT&T v. Compagnie Bruxelles
     Lambert, 94 F.3d 586, 588 (9th Cir. 1996). Mr. Tassillo’s recitation of the “facts”
  27 herein is based on the allegations in the Amended Complaint, is made solely for
     the purposes of this motion, and does not speak to the accuracy of any allegation.
  28
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   1         On February 10, 2022, the Court granted the MindGeek Defendants’ motion
   2   to sever and dismiss on the basis that Plaintiffs’ claims did not arise out of the
   3   same series of transactions or occurrences because the
   4
             alleged occurrences of sex trafficking, child pornography, and
   5         appropriation and misuse of likeness differ[ed] substantially in where
   6
             the improper conduct allegedly occurred, how it occurred, and who
             perpetrated the conduct . . . . [The Plaintiffs] were victimized by
   7         different individuals . . . . [The Plaintiffs’] videos that were posted to
   8         MindGeek’s platforms also were posted at different time periods. . . .
             [T]he interactions with MindGeek [] var[ied] widely.
   9
  10   (ECF No. 119 at 9-10.) The Court held that “Plaintiff Serena Fleites will continue
  11   as the only named Plaintiff in this action,” and the Court dismissed without
  12   prejudice the other 33 plaintiffs. (Id. at 19.).
  13         On March 21, 2022, Plaintiff moved to amend the complaint to add and
  14   remove certain defendants, specifically “to (i) remove Defendant Traffic Junky
  15   Inc. as a separate defendant, (ii) remove defendant TrafficJunky Inc. as a separate
  16   defendant, (iii) add defendant 9219-1568 Quebec, Inc. (d/b/a) Mindgeek), and (iv)
  17   substitute Colbeck Capital Does 1-10 and Bergmair Does 1-10 with Colbeck
  18   Capital Does 1-5 and Bergmair Does 1-5 respectively.” (ECF No. 124-1.)
  19   Plaintiff attached to her motion the Amended Complaint as “Exhibit A.” (ECF No.
  20   124-3.)
  21         On April 14, 2022, the Court granted Plaintiff’s motion to amend to add and
  22   remove certain defendants and entered a joint stipulation setting forth a May 23,
  23   2022 deadline to respond to the Amended Complaint. (ECF No. 128.)
  24   MindGeek
  25         Plaintiff improperly lumps together six corporate defendants—mostly non-
  26   U.S. entities—and treats them as a single business entity called “MindGeek.”
  27   (Amended Compl. at p. 4.) The “MindGeek” at issue in this case is the operator of
  28   various pornographic websites, including Pornhub. (Amended Compl. ¶ 19.)
                                               3
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   1   MindGeek’s business model is similar to that of YouTube. It offers free content,
   2   primarily videos uploaded by users and third-party businesses, and uses traffic
   3   generated by that content to (a) advertise additional pornographic sites that offer
   4   paid content; (b) sell advertising for products; and (c) gather user data for
   5   marketing and development. (Amended Compl. ¶¶ 60, 64.) MindGeek maintains
   6   “comprehensive terms of service, policies, and customer service functions, and
   7   multiple layers of interaction.” (Amended Compl. ¶ 103.) It also employs
   8   moderators to police the content on its websites, investigate and respond to
   9   complaints, and engage with law enforcement. (See, e.g., Amended Compl. ¶¶
  10   187, 252).
  11   The Amended Complaint
  12         According to the Amended Complaint, in 2014, Plaintiff was in the eighth
  13   grade when she learned that a sexually explicit video of her, which her then-high
  14   school boyfriend coerced her to make, was uploaded to Pornhub without her
  15   knowledge or consent. (Amended Compl. ¶ 258.) The video was on the platform
  16   for an unspecified number of months before Plaintiff learned of its existence.
  17   Plaintiff’s efforts to have the video removed lasted several weeks. (Id.) In the
  18   months before the video was removed, it was downloaded and reuploaded by
  19   different users and with different titles. (Amended Compl. ¶ 262.) At least one
  20   year later, when Plaintiff was still a minor, a different boyfriend manipulated her
  21   into making sexually explicit videos, which were uploaded to various websites,
  22   including Pornhub, without Plaintiff’s consent. (Amended Compl. ¶ 264.)
  23         The vast majority of the now 169-page Amended Complaint has absolutely
  24   nothing to do with Plaintiff, her communications with Pornhub, or the videos at
  25   issue. Instead, the Amended Complaint reads like a T.V. movie script looking for
  26   headlines and viewership, discussing in dramatic fashion the purported
  27   disreputable business practices of MindGeek. Plaintiff makes allegations about the
  28   effects of these policies on third-party journalists (see e.g., Amended Compl. ¶ 50);
                                                  4
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   1   activists (see e.g., Amended Compl. ¶ 51); adult performers, (see e.g., Amended
   2   Compl. ¶ 53); MindGeek employees, (see e.g., Amended Compl. ¶¶ 79-80, 84, 86,
   3   186); advertisers and marketers (see e.g., Amended Compl. ¶ 129); creditors (see
   4   e.g., Amended Compl. ¶ 157); government treasuries (see e.g., Amended Compl. ¶
   5   156); purported victims of various consumer frauds (see e.g., Amended Compl. ¶
   6   149-56, 178-81); and other purported victims of sex trafficking that have no link to
   7   Plaintiff whatsoever (see e.g., Amended Compl. ¶¶ 52, 214, 215, 223-25, 226-28,
   8   230-232, 233, 234, 235, 237, 238-39, 240, 243-44, 245, 246, 247, 248, 252, 253,
   9   255). The Amended Complaint refers to characters on the fictional television
  10   series, The Sopranos (see e.g., Amended Compl. ¶¶ 4, 47, 71), and is filled with
  11   inflammatory language, conspiracy theories, and sweeping generalities.
  12         Setting aside the mass of sensationalist, irrelevant filler, the gravamen of the
  13   Amended Complaint is relatively straightforward. Plaintiff alleges that MindGeek
  14   knew or should have known that the videos taken of her were illegally made and/or
  15   posted without her consent, and should have taken the videos down more quickly.
  16   The remaining hundreds of paragraphs of allegations are distractions rife with
  17   innuendo, “shotgun” pleading, and conclusory statements.
  18   David Tassillo
  19         David Tassillo, a Canadian resident, is one of the four individual defendants.
  20   In the previous complaint, he was alleged to be a “resident of Canada and Chief
  21   Operating Officer of MindGeek.” In the Amended Complaint, he is now alleged to
  22   “hold himself out as Chief Operating Officer of all MindGeek-related entities,” and
  23   to be employed by defendant 9219-1568 Quebec, Inc. (Amended Compl. ¶ 24.)
  24   Plaintiff has also added the general allegation that Mr. Tassillo and two other
  25   individual defendants “wield control over the operation of all MindGeek
  26   entities[,]” and that these individual defendants “implemented,” “executed,”
  27   “aggressively developed,” “approved,” or were “fully aware” of certain MindGeek
  28
                                                 5
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   1   policies or practices (see e.g., Amended Compl. ¶¶ 171, 172, 181, 193, 195, 200,
   2   209, 213, 214), but does not identify any particular actions taken by Mr. Tassillo.
   3         Mr. Tassillo is included in the definition of “MindGeek Defendants”
   4   (Amended Compl. at p. 4), but the only specific allegations about Mr. Tassillo are
   5   that he testified in the Canadian House of Commons on February 5, 2021, and that
   6   an unidentified “insider” said he “would [] know” “everything.”2 (Amended
   7   Compl. ¶¶ 57-59, 192-93, 200.) Plaintiff also now alleges in the Amended
   8   Complaint that Mr. Tassillo is a member of the so-called “Bro-Club,” together with
   9   an unspecified number of other individuals (Amended Compl. ¶ 72); and that Mr.
  10   Tassillo is a minority shareholder of “MindGeek” (Amended Compl. ¶ 96).
  11         Again, the Amended Complaint does not allege any specific action taken or
  12   caused by Mr. Tassillo as a member of the “Bro-Club.” The Amended Complaint
  13   similarly lacks specific allegations of any involvement of Mr. Tassillo with the
  14   Plaintiff, the videos at issue, the uploading of the videos, or her communications
  15   with PornHub.
  16         Nonetheless, Plaintiff asserts sixteen (16) claims against Mr. Tassillo (as
  17   part of “MindGeek Defendants” or “All Defendants”), including federal claims
  18   under the TVPRA, civil RICO, child pornography, and various California statutory
  19   and common law torts.
  20                                 LEGAL STANDARD
  21         As a threshold matter, Plaintiff bears the burden of establishing a prima facie
  22   showing of personal jurisdiction. Martinez v. Aero Caribbean, 764 F.3d 1062,
  23   1066 (9th Cir. 2014). Under Rule 12(b)(2), when Plaintiff cannot make such a
  24
       2
        As in the previous complaint, Plaintiff alleges that Mr. Tassillo gave false
  25 testimony to the House of Commons (Amended Compl. ¶ 428.) This allegation
     does not support an element of any claim asserted by Plaintiff and thus is totally
  26 irrelevant in the present posture of the case. We note further that that testimony
     was given on February 5, 2021, and the Amended Complaint does not cite a single
  27 action of the Parliament or a prosecutor in Canada that would support the
     allegation of perjury. The House of Commons committee issued a report which
  28 made no reference whatsoever to false testimony.
                                                6
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   1   showing, the complaint must be dismissed. Morrill v. Scott Fin. Corp., 873 F.3d
   2   1136, 1142 (9th Cir. 2017).
   3            In addition, a complaint must be dismissed under Rule 12(b)(6) unless it
   4   “contain[s] sufficient factual matter, accepted as true, to state a claim to relief that
   5   is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal
   6   quotation marks omitted). Only specific factual allegations are accepted as true,
   7   not legal assertions, “[t]hreadbare recitals of the elements,” or “conclusory
   8   statements.” Id. Under Federal Rule of Civil Procedure 9(b), a party alleging
   9   fraud must “state with particularity the circumstances constituting fraud.” Fed. R.
  10   Civ. P. 9(b).
  11                                        ARGUMENT3
  12            The Amended Complaint should be dismissed for lack of personal
  13   jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2) and failure to
  14   state a claim upon which relief can be granted pursuant to Federal Rule of Civil
  15   Procedure 12(b)(6). The Amended Complaint suffers from the same fatal defect as
  16   the original complaint—the complete absence of specific factual allegations of
  17   unlawful conduct by Mr. Tassillo. Plaintiff still does not plead facts sufficient to
  18   establish personal jurisdiction over Mr. Tassillo in California or the United States,
  19   and she does not meet basic notice pleading requirements, much less the
  20   heightened pleading standards applicable to the claim that sounds in fraud.
  21       I.      THE COURT DOES NOT HAVE PERSONAL JURISDICTION
  22               OVER DAVID TASSILLO
  23            Plaintiff fails to make a prima facie showing of personal jurisdiction over

  24   David Tassillo. It is well-established that Mr. Tassillo’s contacts with the forum

  25   must be assessed individually, In re Boon Glob. Ltd., 923 F.3d 643, 650 (9th Cir.

  26
       In addition to the arguments set forth in this Memorandum, Mr. Tassillo joins
       3
  27 and incorporates by reference the arguments made by MindGeek and individual
     defendants Feras Antoon, Bernard Bergmair, and Corey Urman pursuant to Rules
  28 12(b)(2) and 12(b)(6) of the Federal Rules of Civil Procedure.
                                               7
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   1   2019), yet Plaintiff offers only conclusory, group allegations. As the Ninth Circuit
   2   has stated, the prima facie standard “is not toothless,” AMA Multimedia, LLC v.
   3   Wanat, 970 F.3d 1201, 1207 (9th Cir. 2020); “mere ‘bare bones’ assertions of
   4   minimum contacts with the forum or legal conclusions unsupported by specific
   5   factual allegations will not satisfy a plaintiff's pleading burden.” Swartz v. KPMG
   6   LLP, 476 F.3d 756, 766 (9th Cir. 2007).
   7         It is also a “basic pleading defect for a complaint to ‘lump’ parties together
   8   and to fail to distinguish between named defendants.” Beatport LLC v. SoundCloud
   9   Ltd, 2020 WL 3977602, at *5 (C.D. Cal. July 13, 2020). This rule applies to
  10   jurisdictional allegations. See Broidy Cap. Mgmt., LLC v. Qatar, 2018 WL
  11   9943551, at *7 (C.D. Cal. Aug. 22, 2018) (holding that “shotgun pleadings” do not
  12   satisfy a plaintiff’s burden to demonstrate personal jurisdiction with respect to each
  13   defendant).
  14         David Tassillo lives and works in Canada. The Amended Complaint has no
  15   allegations linking him to California or the United States. The Amended
  16   Complaint has no allegations about his job responsibilities beyond his title and the
  17   bald assertion that he and others “implemented” or “executed” unlawful policies
  18   and practices of MindGeek. The Amended Complaint has no allegations about
  19   what Mr. Tassillo did to “implement[]” or “execute[]” any of these practices. Nor
  20   does the Amended Complaint have an allegation of Mr. Tassillo’s involvement in
  21   or specific knowledge about the Plaintiff or the videos that are at issue in this
  22   lawsuit. In sum, the Amended Complaint has not alleged a basis on which to find
  23   personal jurisdiction over Mr. Tassillo and, accordingly, he should be dismissed
  24   from this action.
  25

  26

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   1
               A.    Mr. Tassillo is Not Subject to General or Specific Jurisdiction in
                     California
   2
               Plaintiff’s allegations do not support either general or specific jurisdiction
   3
       over Mr. Tassillo.
   4
               For general jurisdiction to be found, a defendant's affiliations with the forum
   5
       state must be “so ‘continuous and systematic’ as to render [him] essentially at
   6
       home in the forum[.]” Daimler AG v. Bauman, 571 U.S. 117, 138–39 (2014)
   7
       (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919
   8
       (2011)). Mr. Tassillo is a nonresident defendant without substantial or continuous
   9
       and systematic activities within California. The Amended Complaint provides no
  10
       basis for asserting general jurisdiction over him.
  11
               Specific jurisdiction requires an evaluation of the defendant’s alleged
  12
       activity in California that relate to the causes of action, and must be assessed based
  13
       on the defendant’s individualized contacts with the forum. Such an evaluation
  14
       involves three inquiries: (1) whether the defendant purposefully directed his
  15
       activities toward California residents; (2) whether the claims made by a plaintiff
  16
       grow out of or relate to the defendant’s forum-related activities; and (3) whether
  17
       the exercise of jurisdiction comports with fair play and substantial justice. Picot v.
  18
       Weston, 780 F.3d 1206, 1211 (9th Cir. 2015). The plaintiff bears the burden of
  19
       satisfying the first two elements of the test. CollegeSource, Inc. v. AcademyOne,
  20
       Inc., 653 F.3d 1066, 1076 (9th Cir. 2011). When claims are asserted against a
  21
       foreign defendant, a plaintiff “must meet a higher jurisdictional threshold than is
  22
       required when the defendant is a United States citizen.” See Core-Vent Corp. v.
  23
       Nobel Indus. AB, 11 F.3d 1482, 1490 (9th Cir. 1993). Only if the plaintiff carries
  24
       the burden on these two elements does the burden then shift to the defendant to
  25
       show that the exercise of jurisdiction would not be reasonable. Picot, 780 F.3d at
  26
       1212.
  27

  28
                                                   9
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   1         On the first prong, Plaintiff has not alleged any “purposeful direction” of
   2   activities by Mr. Tassillo toward California. Mr. Tassillo is not alleged to have
   3   committed any intentional act “expressly aimed” at California, causing harm that
   4   he knew was likely to be suffered in California. Schwarzenegger v. Fred Martin
   5   Motor Co., 374 F.3d 797, 806 (9th Cir. 2004) (finding that commission of an
   6   “intentional act” requires the defendant to perform the actual, physical act). At
   7   most, the Amended Complaint merely alleges Mr. Tassillo was aware of certain
   8   company practices that are not specified to have taken place in California or the
   9   United States and are far removed from the purported harm done to Plaintiff. In
  10   any event, “knowledge and consent—passive states of mind—do not constitute
  11   intentional acts directed at the forum state.” Chirila v. Conforte, 47 F. App'x 838,
  12   842 (9th Cir. 2002).
  13         On the second prong, Plaintiff’s claims do not “arise out of or relate to” any
  14   forum-related activities by Mr. Tassillo. Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th
  15   972, 983 (9th Cir. 2021) (quoting Ford Motor Co. v. Montana Eighth Jud. Dist.
  16   Ct., 141 S. Ct. 1017, 1026 (2021)). Because the Amended Complaint does not
  17   allege Mr. Tassillo took any action in California, it certainly does not allege that
  18   Plaintiff’s claims arise out of or relate to any such activities.
  19         Finally, although the Plaintiff has not met her pleading burden, it is clear that
  20   an assertion of jurisdiction over Mr. Tassillo would offend traditional notions of
  21   fair play and substantial justice. It would be unreasonable to hale Mr. Tassillo into
  22   court in California without any well-founded allegation that he had contacts with
  23   the forum. Plaintiff’s theory does violence to the well-established due process
  24   requirements underlying specific personal jurisdiction. Int’l Shoe Co. v. State of
  25   Wash., Office of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945)
  26   (citing Milliken v. Meyer, 311 U.S. 457, 463 (1940)).
  27

  28
                                                  10
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   1
             B.     Nationwide Personal Jurisdiction Does Not Apply, and in Any
                    Event, is Not Satisfied
   2
             Plaintiff continues to cite the nationwide service provision of the RICO
   3
       statute (18 U.S.C. ⸹ 1965(b)), Fed. R. Civ. P. 4(k)(2), and 18 U.S.C. § 2255 in the
   4
       Amended Complaint to suggest that nationwide personal jurisdiction applies.
   5
       Plaintiff is wrong.
   6
             Section 1965(b) does not confer personal jurisdiction over foreign
   7
       defendants like Mr. Tassillo who were not served in the United States pursuant to
   8
       the RICO nationwide service provision. Mr. Tassillo waived service in Canada,
   9
       while retaining “all defenses or objections to the lawsuit or to the jurisdiction or
  10
       venue of the court”. (ECF No. 31 at 2-3.) In United States. Doe v. Unocal Corp.,
  11
       27 F. Supp. 2d 1174, 1184 (C.D. Cal. 1998), aff’d and adopted, 248 F.3d 915 (9th
  12
       Cir. 2001), the court, faced with this precise issue, held categorically that RICO
  13
       does not apply when the defendant is served outside the United States. Plaintiff
  14
       cannot sidestep the statutory language by invoking Mr. Tassillo’s waiver of
  15
       service. See e.g., Perkumpulan Inv'r Crisis Ctr. Dressel-WBG v. Danny M.K.
  16
       Wong, 2012 WL 13024801, at *8 (W.D. Wash. Apr. 6, 2012) (holding that
  17
       “alternative service” under the Federal Rules does not constitute the requisite
  18
       “service” under the RICO statute). The same result follows in this case.
  19
             With respect to Fed. R. Civ. P. 4(k)(2), jurisdiction is not established for
  20
       substantially the same reasons that jurisdiction does not exist under the California
  21
       long arm statute. The Ninth Circuit uses a three-part analysis to assess whether
  22
       jurisdiction is proper under Fed. R. Civ. P. 4(k)(2). First, the claims against the
  23
       defendant must arise under federal law. Second, the defendant must not be subject
  24
       to the personal jurisdiction of any state court of general jurisdiction. Third, the
  25
       federal court's exercise of personal jurisdiction must comport with due
  26
       process. Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1159 (9th Cir. 2006). “The
  27
       third requirement of the Rule 4(k)(2) analysis is the same as the Ninth Circuit's test
  28
                                                 11
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   1   for specific jurisdiction, except that instead of looking at the defendant’s contact
   2   with the forum state, the Court must consider contacts with the nation as a whole.”
   3   Blizzard Ent., Inc. v. Joyfun Inc Co., Ltd., 2020 WL 1972284, at *5 (C.D. Cal. Feb.
   4   7, 2020). A defendant must have minimum contacts with the United States such
   5   that the assertion of jurisdiction “does not offend traditional notions of fair play
   6   and substantial justice.” Pebble Beach Co. at 1155.
   7         Courts have found that Fed. R. Civ. P. 4(k)(2) was designed to cover
   8   situations where a defendant has “ample contacts with the nation as a whole, but
   9   whose contacts are so scattered among states that none of them would have
  10   jurisdiction,” ISI Int'l, Inc. v. Borden Ladner Gervais LLP, 256 F.3d 548, 551 (7th
  11   Cir. 2001), as amended (July 2, 2001) (citation omitted). Fed. R. Civ. P. 4(k)(2)
  12   authorizes district courts to exercise jurisdiction over a foreign defendant “in a
  13   narrow band of cases” where “the United States serves as the relevant forum for a
  14   minimum contacts analysis.” Glencore Grain Rotterdam B.V. v. Shivnath Rai
  15   Harnarain Co., 284 F.3d 1114, 1126 (9th Cir. 2002). “That bar is relatively high
  16   when assessing a defendant’s contacts with the nation as a whole under
  17   Rule 4(k)(2).” Fumoto Giken Co. v. Mistuoka, 2015 WL 12766167, at *4 (C.D.
  18   Cal. Apr. 16, 2015).
  19         The decision in AMA Multimedia, LLC v. Wanat, 970 F.3d 1201 (9th Cir.
  20   2020) is instructive. In that case, the Ninth Circuit held that the defendant, an
  21   operator of a foreign pornography website and a Polish citizen, had insufficient
  22   contacts with the United States even though the plaintiffs alleged he had registered
  23   two websites in Arizona that forwarded users to the pornography website, and
  24   entered into an agreement with a United States-based company for DNS services
  25   (which made it easier for US-based visitors to access the pornography site). Id. at
  26   1205; 1212 n.9 (stating that “nothing more than AMA’s contested bare allegations
  27   support any personal involvement by Wanat in uploading, encouraging the
  28   uploading, or intentionally failing to remove the infringing content.”).
                                                 12
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   1         Here, the Amended Complaint contains no specific allegations about Mr.
   2   Tassillo’s conduct, let alone allegations about any conduct directed at the United
   3   States or contacts with the United States. Accordingly, Plaintiff fails to establish
   4   the minimum contacts necessary for nationwide jurisdiction over Mr. Tassillo to
   5   comport with due process.
   6         Section 2255 of Title 18 of the United States Code is also inapplicable.4 A
   7   plain reading of the statute demonstrates that it does not authorize service on
   8   foreign defendants. See 18 U.S.C. § 2255(c)(2) (stating service is authorized “in
   9   any district in which the defendant— (A) is an inhabitant; or (B) may be found.”)
  10   (emphasis added). In addition, the court’s power to confer personal jurisdiction is
  11   still limited by the due process clause and the nationwide contacts analysis. See
  12   Go-Video, Inc. v. Akai Elec. Co., 885 F.2d 1406, 1416 (9th Cir. 1989) (stating
  13   “when a statute authorizes nationwide service of process, national contacts analysis
  14   is appropriate"). Here, as described above, the Amended Complaint has no
  15   allegations of Mr. Tassillo’s contacts with the United States.
  16         C.     Under the Fiduciary Shield Doctrine, the MindGeek Entities’
  17                Contacts with California May Not Be Imputed to Mr. Tassillo
  18         Plaintiff alleges that jurisdiction over two of the corporate defendants—
  19   MindGeek USA and MG Global Entertainment Inc.—should be imputed to Mr.
  20   Tassillo (and other foreign defendants). (Amended Compl. ¶ 40.) This allegation
  21   falls well short of what the law requires because, under the “fiduciary shield”
  22   doctrine, an individual’s association with a corporation that allegedly caused injury
  23
       18 U.S.C. § 2255, also called Masha’s Law, provides a civil remedy for personal
       4
  24 injuries caused by the sexual exploitation of children. The law, in relevant part,
     states as follows: “Any person who, while a minor, was a victim of a violation
  25 of section 1589, 1590, 1591, 2241(c), 2242, 2243, 2251, . . . [etc.] and who suffers
     personal injury as a result of such violation . . . may sue in any appropriate United
  26 States District Court and shall recover the actual damages such person
     sustains . . . .” 18 U.S.C. 2255(a). Subsection (c)(2) provides that “[i]n an action
  27 brought under subsection (a), process may be served in any district in which the
     defendant— (A) is an inhabitant; or (B) may be found.”
  28
                                                13
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   1   in the forum state is not sufficient, in itself, to permit that forum to assert
   2   jurisdiction over the individual. Davis v. Metro Prods., Inc., 885 F.2d 515, 520
   3   (9th Cir. 1989). The doctrine shields Mr. Tassillo who has been named a
   4   defendant by virtue of his alleged status as an officer of “MindGeek” rather than
   5   any specific alleged wrongful acts.
   6         At the pleading stage, protection of the doctrine may be overcome only if a
   7   plaintiff adequately alleges that the individual defendant was (1) the “alter ego” of
   8   the entity subject to personal jurisdiction; or (2) the “guiding spirit” behind the
   9   wrongful conduct, Davis, 885 F.2d at 524 n.10, in that he “personally directed the
  10   activities toward the forum state giving rise to the complaint.” Ind. Plumbing
  11   Supply, Inc. v. Standard of Lynn, Inc., 880 F. Supp. 743, 750 (C.D. Cal. 1995)
  12   (emphasis added). Neither the alter ego exception nor the guiding spirit exception
  13   applies to Mr. Tassillo.
  14                1.     Mr. Tassillo is not alleged to be an alter ego of any
  15
                           MindGeek entity

  16         To plead an alter ego theory appropriately, Plaintiff must make a prima facie
  17   showing “(1) that there is such unity of interest and ownership that the separate
  18   personalities of the corporation and the individuals no longer exist and (2) that
  19   failure to disregard [their separate identities] would result in fraud or
  20   injustice.” Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389, 1393 (9th Cir. 1984)
  21   (citation omitted). “Conclusory allegations of ‘alter ego’ status are insufficient . . .
  22   . Plaintiff must allege specifically both of the elements of alter ego liability, as
  23   well as facts supporting each.” Neilson v. Union Bank of California, N.A., 290 F.
  24   Supp. 2d 1101, 1116 (N.D. Cal. 2003) (citation omitted); Dynascan Technology,
  25   Inc. v. Plasmedia Productions, Inc., 2010 WL 11520614 at *5 (C.D. Cal. Jan. 21,
  26   2010) (Carney, J.) (dismissing alter ego theory where plaintiff failed to include
  27   “supporting factual allegations”). Alter ego is considered “an extreme remedy,
  28   sparingly used,” Hasso v. Hapke, 227 Cal. App. 4th 107, 155 (Ct. App. 2014), and
                                             14
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   1   “carries a high burden both at the pleading stage and on the merits.” Incipio, LLC
   2   v. Argento Sc By Sicura Inc., 2018 WL 4945002, at *2 (C.D. Cal. July 18, 2018).
   3         Here, the Amended Complaint fails to make a prima facie showing of alter
   4   ego status between Mr. Tassillo and any MindGeek entity subject to the
   5   jurisdiction of California or the United States. Plaintiff does little more than recite
   6   the well-known elements of an alter ego claim and offer speculation that
   7   MindGeek’s corporate structure was designed for illicit purposes and for the
   8   benefit of the individual defendants. The Amended Complaint lacks any specific
   9   allegation about Mr. Tassillo that would show a disrespect for corporate forms,
  10   diversion of funds, manipulation of entities for his own ends, or any injustice to
  11   Plaintiff. See Allegro Consultants, Inc. v. Wellington Techs., Inc., 2014 WL
  12   4352344, at *6 (N.D. Cal. Sept. 2, 2014) (concluding plaintiff failed to make a
  13   prima facie case of personal jurisdiction over company’s co-founder absent
  14   evidence of such factors).
  15         Formulaic recitation of the law, without factual support, cannot sustain an
  16   alter ego claim. The Court’s decision in Symettrica underscores this principle. In
  17   that case, the plaintiff sought to impute the jurisdictional contacts of a corporate
  18   entity to individual defendants on an alter ego theory. But this Court found that
  19   “[t]he only support offered for th[o]se conclusions [were] allegations—made upon
  20   information and belief—that [the entity] is undercapitalized, fails to undertake
  21   corporate formalities, and that the director defendants co-mingled [the entity’s]
  22   funds with their own.” Symettrica, 2019 WL 8806093 at *4. The Court concluded
  23   it “cannot find that [the individual defendants] were the alter egos of [the entity]
  24   based on [] unsubstantiated legal conclusions alone.” Id.
  25         Contrary to Plaintiff’s generalized formulaic allegations, the specific facts
  26   presented by the corporate defendants undercut Plaintiff’s contentions about the
  27   lack of corporate separateness. The Declaration submitted by the MindGeek
  28   Entities demonstrates that each MindGeek corporate defendant is adequately
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   1   capitalized and abides by requisite corporate formalities. (See Decl. of A.
   2   Andreou in Support of MindGeek Entities Mot. to Dismiss, ¶¶ 11-35.)
   3         In this case the basis for dismissal is even stronger because Plaintiff’s alter
   4   ego allegations do not even mention Mr. Tassillo. The Amended Complaint offers
   5   only sweeping assertions that the members of the so called “Bro-Club” are alter
   6   egos of each other and all of the corporate entities. (Amended Compl. ¶¶ 31, 32,
   7   78).5 An alter ego claim may not rely on generalized allegations of group
   8   membership. See e.g., Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth
   9   Grp., Inc., 2015 WL 12777092, at *10 (C.D. Cal. Oct. 23, 2015 (rejecting alter
  10   ego theory because generalized allegations based on group membership are
  11   “insufficient to plausibly show [the individual defendant’s] unity and control over
  12   the alleged network, and the mere inclusion of [her] with the [alleged network]
  13   does not overcome the deficiency”).
  14         Stripped of its improper group pleading, the Amended Complaint’s
  15   allegations about Mr. Tassillo living in Canada and serving as COO of
  16   “MindGeek” (FAC ¶ 54), or that he “wield[ed] control” over “all MindGeek
  17   entities” (FAC ¶ 24), are plainly insufficient to plead the “unity of interest”
  18   necessary for alter ego status. Ranza, 793 F.3d at 1070-73; Thomas Land & Dev.,
  19   LLC v. Vratsinas Constr. Co., 2019 WL 3842995, at *6 (S.D. Cal. Aug. 14, 2019)
  20   (rejecting as insufficient conclusory allegations that defendants “dominated,
  21   influenced, and controlled each other and the officers of one another, as well as
  22   the business, property, and affairs of each other”). In any event, the FAC alleges
  23   that Mr. Tassillo is a minority owner; by definition, he does not control the
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         Plaintiff also makes contradictory allegations about who controlled
       “MindGeek”. For example, at one point, Plaintiff alleges that 10 Doe defendants
  26   “owned and ran” the company, and possessed ultimate “control” of it. (Amended
       Compl. ¶¶ 87, 96, 431.). At another point, the Amended Complaint alleges that
  27   the Bro-Club “answered” to the majority shareholder. (Amended Compl. ¶ 97.)
       These allegations underscore the conclusory and speculative nature of Plaintiff’s
  28   pleading.
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   1   company, and therefore the company is not an alter ego of Mr. Tassillo. (See
   2   Amended Compl. ¶ 96.)
   3         Accordingly, the Court need not reach the “fraud or injustice” prong of the
   4   alter ego test. Ranza, F.3d at 1075 n.9. To the extent the Court considers the
   5   issue, Plaintiff’s allegations of injustice are also deficient because she fails to
   6   allege that Mr. Tassillo acted in bad faith or caused the two California MindGeek
   7   entities—or any other entity—to become undercapitalized. NuCal Foods, Inc. v.
   8   Quality Egg LLC, 887 F.Supp.2d 977, 992 (E.D. Cal. 2012) (“To prove injustice,
   9   the plaintiff must be more than just a creditor attempting to recover on unsatisfied
  10   debts; it must show that a defendant’s conduct amounted to bad faith.”) (emphasis
  11   added).
  12         Plaintiff has not made any showing that an inequitable, fraudulent, or unjust
  13   result will follow if Mr. Tassillo cannot be sued in California. Corporate
  14   defendants in California have appeared in this case, and Plaintiff has not alleged
  15   any specific facts showing that they are undercapitalized or have been deprived of
  16   assets or are otherwise shams, much less that Mr. Tassillo took any action that left
  17   the companies in such a condition. See Shimmick Construction Co., Inc. v.
  18   Officine Meccaniche, 2014 WL 5847440 at *7 (S.D. Cal. Nov. 12, 2014) (where
  19   plaintiff alleged that one alter ego corporation was insolvent, the fact that he could
  20   “seek redress” from remaining defendants meant he was unable to satisfy
  21   “injustice” prong of alter ego test). Plaintiff has not alleged any conduct of Mr.
  22   Tassillo that would deprive her of a remedy against an appropriate defendant. In
  23   fact, Plaintiff’s claims are within the scope of a putative class action pending in
  24   Canada against certain MindGeek entities and three individual defendants
  25   (including Mr. Tassillo). Jane Doe c. 9219-1568 Québec Inc. & als., No. 500-06-
  26   001115-209 (Can. Que. Sup. Ct. Nov. 29, 2021).
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                     2.     Mr. Tassillo is not alleged to be the “guiding spirit” of the
   1                        complained-of activity
   2          Plaintiff also fails to allege that Mr. Tassillo was the “guiding spirit” of the
   3   challenged conduct. The “guiding spirit” exception to the fiduciary shield doctrine
   4   requires Plaintiff to allege specific actions the defendant took to direct his activities
   5   to the forum and cause injury as a result of those actions. In re Boon, 923 F.3d 643
   6   at 651; see also International Mfg. Co. v. Landon, Inc., 336 F.2d 723, 728 (9th Cir.
   7   2009) (corporate officer must be the “active directing hand” behind the conduct).
   8          Here, the Amended Complaint makes no allegations connecting Mr. Tassillo
   9   to Plaintiff or the videos at issue, or that he was the “guiding spirit” of any activity
  10   by any MindGeek entity with respect to those videos. Plaintiff merely alleges in
  11   the most sweeping, conclusory fashion that Mr. Tassillo and other individual
  12   defendants are involved in the “operational implementation” of policies that
  13   “embrace [] illegal content.” (See e.g., Amended Compl. ¶ 172, 194.) Conclusory
  14   “managerial” allegations of this type are insufficient to confer jurisdiction over
  15   foreign corporate officers.
  16          In Cisco Systems, Inc. v. Link US LLC, 2019 WL 6682838 (N.D. Cal. Dec.
  17   6, 2019), for instance, Cisco sued a company and its president for allegedly selling
  18   counterfeit Cisco goods. The only allegations against the executive were that he
  19   was “intimately involved in operating” the company and “actively involved in [its]
  20   day-to-day management and operations.” Id. at *1. The court found that the
  21   allegations were deficient, ruling that “[i]f general allegations of managerial
  22   responsibilities . . . were sufficient to establish specific jurisdiction in this case,
  23   specific jurisdiction would extend to a company’s officers in virtually every case
  24   where it extended to the company itself. That result is inconsistent with Ninth
  25   Circuit precedent.” Id. at *4. See also Symettrica 2019 WL 8806093, at *3-4.
  26   (holding that the “fiduciary shield doctrine cover[ed]” the individual defendant
  27   because plaintiffs relied only on “conclusory” allegations that he “authorized,
  28   directed, or participated in the wrongful conduct alleged.”).
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   1            The Amended Complaint is insufficient for the same reason: it fails to allege
   2   that Mr. Tassillo was the “active directing hand” behind the corporate conduct at
   3   issue.
   4      II.      PLAINTIFF’S CLAIMS AGAINST MR. TASSILLO DO NOT
   5               SATISFY BASIC PLEADING REQUIREMENTS
   6            Because the Court lacks personal jurisdiction over Mr. Tassillo, the Court
   7   need not reach the separate question of whether the Amended Complaint states a
   8   claim against him. If the Court proceeds beyond the issue of jurisdiction, the
   9   Amended Complaint should be dismissed as to Mr. Tassillo under Fed. R. Civ. P.
  10   12(b)(6) because of the complete absence of any allegation of a specific action
  11   taken by Mr. Tassillo relating to Plaintiff or the videos in question. Despite being
  12   named as a defendant in all but one of Plaintiff’s 16 claims (based on his inclusion
  13   in the definition of “MindGeek Defendants”), Mr. Tassillo is only referenced by
  14   name in Count VII, and even there, only to repeat the same group allegations made
  15   earlier in the Amended Complaint. (See Amended Compl. ¶¶ 423, 428, 477.)
  16            Dismissal is warranted when, as here, the pleading is not “sufficiently
  17   focused to allow the defendants to properly understand its claims and the Court to
  18   do justice.” Mason v. Cty. of Orange, 251 F.R.D. 562, 563 (C.D. Cal. 2008); Bell
  19   Atlantic Corp. v. Twombly, 550 U.S. 544, 547 (2007); Federal Rule of Civil
  20   Procedure 8(a). Instead of remedying the deficiencies of the previous complaint,
  21   the Amended Complaint simply rehashes the same allegations of corporate
  22   misconduct—now with repeated boilerplate language to the effect that Mr.
  23   Tassillo, together with two other individual defendants, “implemented” such
  24   activities at the direction of another individual defendant.
  25            Several recent decisions leave no doubt as to the Amended Complaint’s
  26   shortcomings. In Doe v. WebGroup Czech Republic, plaintiffs asserted claims
  27   against U.S. and foreign entities and individuals who purportedly operated a
  28   popular adult entertainment website. After dismissing foreign defendants on
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   1   personal jurisdiction grounds, the court in WebGroup Czech Republic also
   2   dismissed the claims against the U.S. defendants because the complaint “fails to
   3   sufficiently attribute allegations to [the defendants],” “comingles the Defendants
   4   together throughout much of the pleading, without identifying which entities are
   5   responsible for the conduct underlying the claims,” “fail[s] to specify each
   6   Defendant’s culpability adequately” and “does not adequately identify the
   7   allegations against them.” Doe v. WebGroup Czech Republic, as, 2022 WL
   8   982248, at *7-8 (C.D. Cal. Jan. 13, 2022), amended on reconsideration in part sub
   9   nom. Doe v. WebGroup Czech Republic, 2022 WL 982245 (C.D. Cal. Feb. 25,
  10   2022). The same is true in this case.
  11         In Children’s Health Defense v. Facebook Inc., 546 F.Supp.3d 909, 914
  12   (N.D. Cal. 2021), plaintiffs sued an online platform and its CEO in his individual
  13   capacity based on purportedly false information displayed on the platform about
  14   vaccinations, on the theory that the CEO had “participated in, and personally
  15   directed” the challenged policies, and “likely would have known about, and
  16   approved” them in light of his position at the company and his “hands-on”
  17   approach as CEO. The court dismissed plaintiffs’ complaint because the
  18   pleading’s generalized allegations amounted to “bald and conclusory allegations”
  19   about the officer’s actions that were “unsupported by facts [and] are not entitled to
  20   the assumption of truth.” Id. at 925-6 (internal quotation and citation omitted).
  21   See also In re JUUL Labs, Inc. Marketing, Sales Practices and Products Liability
  22   Litigation, 497 F. Supp. 3d 552 (N.D. Cal. 2020) (dismissing plaintiffs’ suit against
  23   individual directors alleging vague allegations of “control” and “final say” over the
  24   challenged policies because “generalized allegations are insufficient to connect
  25   each [defendant] to the direction or control of any unfair acts or youth-targeted
  26   marketing acts,” since there were “no factual allegations of specific conduct”
  27   committed by or at the direction of the directors) Id. at 636 (emphasis in original)).
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   1         Plaintiff’s Amended Complaint suffers from the same fatal lack of
   2   specificity. For ease of reference, identified below are the counts asserted against
   3   Mr. Tassillo and why they are insufficiently pleaded. 6
   4         Counts I, II, and IV (TVPRA): In her First and Second Claims for Relief
   5   against “MindGeek Defendants,” Plaintiff fails to make any specific allegations
   6   about conduct by Mr. Tassillo (or any other defendant), and no allegation that Mr.
   7   Tassillo performed any acts that affected Plaintiff, much less that he “knowingly”
   8   committed the perpetrator-like conduct set forth in Section 1591(a)(1) of the
   9   TVPRA. 18 U.S.C. § 1591(a)(1). Similarly, to the extent Plaintiff asserts her claim
  10   against Mr. Tassillo under Section 1595 on a “beneficiary” theory under 1591(a)(2),
  11   that claim also fails because the Amended Complaint has no allegation that Mr.
  12   Tassillo participated in a venture with sex traffickers let alone that he knew or
  13   should have known of Plaintiff’s alleged sex trafficking or benefited from it. 18
  14   U.S.C. § 1591(a)(2). Finally, regarding the TVPRA’s conspiracy provision, the
  15   Amended Complaint has no allegation that Mr. Tassillo entered into an agreement
  16   with others to commit unlawful acts, and none of the alleged overt acts reference
  17   Mr. Tassillo, directly or by implication. 18 U.S.C. § 1594(c). Accordingly,
  18   Plaintiff’s claims under 18 U.S.C. §§ 1591(a), 1594(c), and 1595 must be
  19   dismissed.
  20         Counts V and VI (Child Pornography Offenses): In Plaintiff’s Fifth and
  21   Sixth Claims for Relief, she asserts civil actions under the federal criminal
  22   provisions prohibiting the receipt, transport, and possession of child pornography.
  23   Regarding these alleged child exploitation materials (“CSEM”) offenses. Plaintiff
  24   fails to plead, as she must, that Mr. Tassillo “knowingly” received, transported, or
  25   possessed such materials. United States v. X-Citement Video, Inc., 513 U.S. 64, 78
  26

  27   Mr. Tassillo also incorporates by reference and joins in the arguments made by
       6
     MindGeek in its motion to dismiss with respect to the pleading deficiencies in
  28 Counts I - II and Count IV - Counts XVII of the Amended Complaint. (See
     generally MindGeek Mot. to Dismiss Br., Sections IV-V).
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   1   (1994). Plaintiff has not made any allegation pertaining to Mr. Tassillo and CSEM,
   2   and certainly not that Mr. Tassillo knew the videos at issue contained CSEM prior
   3   to Plaintiff’s takedown request. Accordingly, Plaintiff fails to state a claim because
   4   the statute requires that she be “aggrieved by reason of” the knowing receipt,
   5   transport, or possession of CSEM. 18 U.S.C. § 2252A(f)(1).
   6         Counts VII, VIII, (Civil RICO): Plaintiff’s civil RICO claims also must
   7   fail. As an initial matter, courts “strive to flush out frivolous RICO allegations at
   8   an early stage of the litigation.” See Hall v. Fiat Chrysler America US LLC, 2021
   9   WL 3560231, at *3 (C.D. Cal. July 20, 2021) (Carney, J.) (quoting Wagh v. Metris
  10   Direct, Inc., 348 F.3d 1102, 1108 (9th Cir. 2003)). Plaintiff is required to plead,
  11   among other things, “at least two predicate acts by each defendant.” In re
  12   WellPoint, Inc., 865 F. Supp. 2d 1002, 1035 (C.D. Cal. 2011) (emphasis added).
  13   Plaintiff has failed to sufficiently plead any predicate act by Mr. Tassillo and
  14   certainly not the two required by law. This failure is fatal to her civil RICO claims
  15   against him. See Doan v. Singh, 617 F. App'x 684, 686 (9th Cir. 2015) (rejecting
  16   RICO claim because it was not clear from plaintiffs’ allegations “what exactly
  17   each individual did, when they did it, or how they functioned together as a
  18   continuing unit.”).
  19         Counts IX, X, and XI (Public Disclosure of Private Facts, Intrusion into
  20   Private Affairs and Placing Plaintiff in a False Light): Regarding all the
  21   common law and state law torts alleged in the Amended Complaint against Mr.
  22   Tassillo, “[d]irectors or officers of a corporation do not incur personal liability for
  23   torts of the corporation merely by reason of their official position, unless they
  24   participate in the wrong.” United States Liability Ins. Co. v. Haidinger–Hayes,
  25   Inc., 463 P.2d 770, 775 (Cal. 1970). The Amended Complaint is silent as to Mr.
  26   Tassillo’s alleged participation in any wrongful acts. Plaintiff makes only group
  27   and conclusory allegations about Mr. Tassillo, including about his role as COO, and
  28   that association cannot form the basis of individual tort liability. See Frances T. v.
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   1   Vill. Green Owners Assn., 42 Cal. 3d 490, 503 (1986) (“It is well settled that
   2   corporate directors cannot be held vicariously liable for the corporation's torts in
   3   which they do not participate. Their liability, if any, stems from their own tortious
   4   conduct, not from their status as directors or officers of the enterprise.”). For this
   5   reason alone, the common law and state law torts directed against Mr. Tassillo fail.
   6         Even if Plaintiff could sufficiently plead her claims, courts routinely hold that
   7   the basis for these kinds of privacy torts presupposes the website’s “role as a
   8   ‘republisher’ of material posted by a third party,” and therefore, they are barred by
   9   Section 230 of the Communications Decency Act, 47 U.S.C. § 230, as discussed
  10   below. See e.g., Caraccioli v. Facebook, Inc., 700 F. App’x 588, 590 (9th Cir.
  11   2017) (holding claims against Facebook for intrusion into private affairs and false
  12   light, among others, based on Facebook’s refusal to remove private photos and
  13   videos of the plaintiff from Facebook, was barred under Section 230).
  14         Counts XII and XIII (Common Law and California Statutory
  15   Commercial Misappropriation): In Plaintiff’s Twelfth and Thirteenth Claims for
  16   Relief, Plaintiff fails to adequately allege the elements of a misappropriation claim
  17   under common law or under Cal. Civil Code § 3344 against Mr. Tassillo. The
  18   Amended Complaint does not contain any allegation that Mr. Tassillo appropriated
  19   Plaintiff’s name or likeness, or that he used her identity, knowingly or otherwise,
  20   for a commercial purpose. Accordingly, these claims should be dismissed.
  21         Count XIV (Cal. Civ. Code § 1708.85): Plaintiff’s Fourteenth Claim for
  22   Relief is also deficient. The California statute provides a private right of action
  23   “against a person who intentionally distributes” private sexually explicit materials
  24   “without the other’s consent” if “the person knew, or reasonably should have
  25   known, that the other person had a reasonable expectation that the material would
  26   remain private.” Cal. Civ. Code § 1708.85. But the Amended Complaint has no
  27   allegation that Mr. Tassillo “intentionally distributed” videos or images depicting
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   1   Plaintiff, or that he even knew these materials existed. Accordingly, Plaintiff has
   2   failed to plead a claim under Section 1708.85 against Mr. Tassillo.
   3         Count XV (Negligence): Plaintiff’s Fifteenth Claim for Relief fails because
   4   Plaintiff has not alleged any legal duty owed to her by Mr. Tassillo, much less any
   5   acts that would constitute a breach of that duty. Absent from the Amended
   6   Complaint is any allegation from which the Court could conclude that a special
   7   relationship existed between Mr. Tassillo and Plaintiff. Courts consistently decline
   8   to find special relationships between websites and those injured by third-party
   9   uploads to such websites. See, e.g., Doe v. MySpace, 474 F. Supp. 2d 843, 846, 852
  10   (W.D. Tex. 2007) (dismissing negligence claims because Myspace did not owe a
  11   legal duty to parents of a teenager who was raped to protect their daughter from
  12   criminal acts “nor to institute reasonable safety measures on its website”). The
  13   point is even more stark with respect to a purported injured third-party user and a
  14   COO of the company that owns the website.
  15         Count XVI (Cal. Bus. & Prof. Code §§ 17200 and 17500): Plaintiff’s
  16   Unfair Competition Law claim is insufficiently pleaded because Plaintiff has not
  17   alleged any specific unlawful acts by Mr. Tassillo. In addition, because Plaintiff’s
  18   claim is premised on an alleged misrepresentation, it also fails to meet Rule 9(b)’s
  19   requirements because she does not allege with particularity any specific
  20   misrepresentation made by Mr. Tassillo. Kwikset Corp. v. Superior Court, 51 Cal.
  21   4th 310, 320, 322-25 (2011); Letizia v. Facebook Inc., 267 F. Supp. 3d 1235, 1244
  22   (N.D. Cal. 2017).
  23         Count XVII (Civil Conspiracy): Plaintiff’s Seventeenth Claim for Relief
  24   fails because, under California law, civil conspiracy is not a separate and distinct
  25   tort cause of action. See, e.g., Applied Equipment Corp. v. Litton Saudi Arabia
  26   Ltd., 7 Cal.4th 503, 514 (1994) (stating that, “Conspiracy is not an independent
  27   tort; it cannot create a duty or abrogate an immunity. It allows tort recovery only
  28   against a party who already owes the duty and is not immune from liability based
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   1   on applicable substantive tort law principles.”); Ent. Rsch. Grp., Inc. v. Genesis
   2   Creative Grp., Inc., 122 F.3d 1211, 1228 (9th Cir. 1997) (stating that “merely
   3   alleging underlying tort causes of action is clearly insufficient to support a
   4   conspiracy cause of action”).
   5       III.   SECTION 230 IMMUNITY EXTENDS TO MR. TASSILLO 7
   6          Plaintiff’s claims here are barred by Section 230 of the Communications
   7   Decency Act because she seeks to treat the MindGeek Defendants as publishers or
   8   speakers of information provided by other content providers. In enacting Section
   9   230, Congress made a deliberate policy decision that providers of Interactive
  10   Computer Services (“ICSs”) like Pornhub may not be held liable for content
  11   created by their users. Gonzalez v. Google, LLC, 2 F.4th 871, 887 (9th Cir. 2021).
  12   Congress designed Section 230 “to promote the free exchange of information and
  13   ideas over the Internet and to encourage voluntary monitoring for offensive or
  14   obscene material.” Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1099–1100 (9th Cir.
  15   2009) (internal quotation omitted).
  16          In keeping with these principles, courts have extended Section 230 immunity
  17   to officers of ICSs asserting the protection whose only connection to the lawsuit is
  18   their association to the organization. For instance, in a lawsuit against Facebook
  19   and its CEO, the D.C. Circuit held that “Mark Zuckerberg, too, qualifies for
  20   protection because he is a ‘provider’ of Facebook's interactive computer
  21   service, 47 U.S.C. § 230(c)(1), and Klayman's complaint seeks to hold him
  22

  23   7
         We recognize this Court’s ruling in Doe v. Mindgeek USA Inc., 558 F. Supp. 3d
       828 (C.D. Cal. 2021), reconsid. denied, 2021 WL 5990195 (C.D. Cal. Dec. 2,
  24   2021), as well as the decision in Doe #1 v. MG Freesites, LTD, 2022 WL 407147
       (N.D. Ala. Feb. 9, 2022). We note, however, that other courts have reached a
  25   different result. See e.g., J.B. v. G6 Hospitality, LLC, 2021 WL 4079207 (N.D.
       Cal. Sept. 8, 2021); Doe v. Reddit, Inc., 2021 WL 5860904 (C.D. Cal. Oct. 7,
  26   2021); M.L. v. Craigslist Inc., No. 3:19-cv-06153, Dkt. 225, (W.D. Wash. Sept. 16,
       2021) report and recommendation adopted, 2022 WL 1210830 (W.D. Wash. Apr.
  27   25, 2022). In our view, Section 230 immunity applies here for the reasons stated in
       the MindGeek Entities’ Motion to Dismiss Brief, Sections II-III, and in Section III
  28   herein.
                                                 25
              DAVID TASSILLO’S MOTION TO DISMISS THE AMENDED COMPLAINT
                                CASE NO. 2:21-cv-4920-CJC
Case 2:21-cv-04920-WLH-ADS         Document 136 Filed 05/23/22     Page 34 of 35 Page
                                       ID #:2265



   1   accountable for his role in making that service available, Compl. ¶ 12.” Klayman v.
   2   Zuckerberg, 753 F.3d 1354, 1357–58 (D.C. Cir. 2014). See also La'Tiejira v.
   3   Facebook, Inc., 272 F.Supp.3d 981 (S.D. Tex. 2017) (stating that “Facebook
   4   Defendants [which includes Zuckerberg] are entitled to CDA immunity because
   5   (1) they are providers of an “interactive computer service”) (emphasis added);
   6   People v. Ferrer, 2016 WL 7237305 (2016) (holding that Backpage.com and its
   7   officers could not be prosecuted under state criminal laws for Section 230-
   8   immunized conduct); Ascentive, LLC v. Opinion Corp., 842 F.Supp.2d 450, 474
   9   (E.D.N.Y. 2011) (extending Section 230 immunity to three officers of a consumer
  10   review website, who, along with the entity, were sued under the Lanham Act and
  11   civil RICO). Here these principles apply a fortiori because Plaintiff has failed to
  12   allege anything about Mr. Tassillo other than his role as COO.
  13          Accordingly, even if Plaintiff met the basic pleading standard in Rule 8(a)—
  14   which she does not—the claims against Mr. Tassillo are barred by Section 230.
  15                                      CONCLUSION
  16          For the reasons stated above, David Tassillo respectfully requests that the
  17   Court dismiss this action for lack of personal jurisdiction or, in the alternative, for
  18   failure to state a claim.
  19
              DATED: May 23, 2022              Respectfully Submitted,
  20

  21                                           WIECHERT, MUNK & GOLDSTEIN, PC

  22                                           By: /s/ David W. Wiechert
  23                                           David W. Wiechert (SBN 94607)
  24                                           MORVILLO ABRAMOWITZ GRAND
  25                                           IASON & ANELLO PC
                                               Jonathan S. Sack (admitted pro hac vice)
  26                                           Karen R. King (admitted pro hac vice)
  27                                           Ryan McMenamin (admitted pro hac vice)
                                               Attorneys for Specially Appearing
  28                                           Defendant David Tassillo
                                                 26
              DAVID TASSILLO’S MOTION TO DISMISS THE AMENDED COMPLAINT
                                CASE NO. 2:21-cv-4920-CJC
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   1
                                CERTIFICATE OF SERVICE

   2         I, Danielle Dragotta, an employee of Wiechert, Munk & Goldstein, PC,
   3
       located at 27136 Paseo Espada, Suite B1123, San Juan Capistrano, California
       92675, declare under penalty and perjury that I am over the age of eighteen (18)
   4   and not a party to the above-entitled proceeding.
   5
           On May 23, 2022, I served the forgoing documents, described as
   6   SPECIALLY APPEARING DEFENDANT DAVID TASSILLO’S NOTICE
   7
       OF MOTION AND MOTION TO DISMISS THE COMPLAINT;
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
   8   THEREOF; [PROPOSED] ORDER on all interested parties as follows:
   9
       [ ]   BY MAIL: I caused such envelope(s) to be deposited in the mail at San
  10         Juan Capistrano, California with postage thereon fully prepaid to the office
  11         of the addressee(s) as indicated on the attached service list. I am “readily
             familiar” with this firm’s practice of collection and processing
  12         correspondence for mailing. It is deposited with the U.S. Postal Service on
  13         that same day in the ordinary course of business. I am aware that on motion
             of party served, service is presumed invalid if postal cancellation date or
  14         postage meter date is more than one day after the date of deposit for mailing
  15         in affidavit.

  16   [X]   BY E-MAIL: I caused the document(s) to be transmitted electronically by
  17         filing the forgoing with the clerk of the District Court using the CM/ECF
             system, which electronically notifies counsel for all parties.
  18

  19   [ ]   BY PERSONAL DELIVERY: I personally delivered the document(s)
             listed above to the person(s) as indicated on the attached service list.
  20

  21   [X]   FEDERAL: I declare that I am employed in the office of a member of the
             Bar of this court at whose direction the service was made.
  22

  23        I certify under penalty of perjury under the laws of the United States of
       America that the foregoing is true and correct.
  24

  25         Executed on May 23, 2022, at San Juan Capistrano, California.
  26

  27                                                /s/Danielle Dragotta
                                                    Danielle Dragotta
  28
                                                1
                                   CERTIFICATE OF SERVICE
                                   CASE NO. 2:21-cv-4920-CJC
